    Case: 3:20-cv-50078 Document #: 10 Filed: 03/27/20 Page 1 of 3 PageID #:25




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             WESTERN DIVISION

COLETTE BELL,
                                          Case No.: 3:20-cv-50078
           Plaintiff,
      v.                                  NOTICE
                                          OF VOLUNTARY DISMISSAL

SYNCHRONY BANK,
           Defendant.



      PLEASE TAKE NOTICE that Plaintiff Colette Bell (“Plaintiff”) by and

through undersigned counsel and pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), hereby dismisses the action against Defendant Synchrony Bank

without prejudice.

      The Defendant filed neither an answer to the complaint nor a motion for

summary judgment; dismissal under Rule 41(a)(1) is therefore appropriate.

      Respectfully submitted this 27th day of March 2020.

                                            PRICE LAW GROUP, APC

                                            By: /s/ David A. Chami
                                            David A. Chami, AZ #027585
                                            8245 North 8th Way
                                            Scottsdale, AZ 85258
                                            T: 818-600-5564
                                            F: 818-600-5464
                                            david@pricelawgroup.com
Case: 3:20-cv-50078 Document #: 10 Filed: 03/27/20 Page 2 of 3 PageID #:26




                                        By: /s/ Tarek N. Chami
                                        Tarek N. Chami, P76407
                                        22000 Michigan Ave., Suite 200
                                        Dearborn, MI 48124
                                        T: 313-444-5029
                                        F: 888-428-7911
                                        tarek@pricelawgroup.com
                                        Attorneys for Plaintiff Colette Bell
    Case: 3:20-cv-50078 Document #: 10 Filed: 03/27/20 Page 3 of 3 PageID #:27




                           CERTIFICATE OF SERVICE

      I hereby certify that on March 27, 2020, I electronically filed the foregoing

with the Clerk of the Court using the ECF system, which will send notice of such

filing to all attorneys of record in this matter.


      /s/ Sincie Chacko
